Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 1 of 7




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                            CASE NO. 23-20073-CIV-ALTONAGA/Damian

     FLORAL LOGISTICS OF MIAMI, INC.,
     a Florida Profit Corporation,

                                Plaintiff,
              -against-                                                   CIVIL ACTION


     NEW YORK GARDEN FLOWER WHOLESALE,
     INC., a New York Profit Corporation, and DHAN
     PAIH, an individual,


                                Defendants.
     -----------------------------------------------------------------/

      DEFENDANTS’ COUNTER-DESIGNATIONS OF 30(b)(6) DEPOSITION
                          TRANSCRIPT

              Defendants, NEW YORK GARDEN FLOWER WHOLESALE, INC., a

     New York Profit Corporation (“NY Garden”) and DHAN PAIH a/k/a Daniel Bae,

     an individual (“PAIH”) (collectively “Defendants”), by and through the

     undersigned counsel, Daniel D. Kim, Esq., PHV counsel, hereby submits this

     Defendants’ Counter-Designation of Plaintiff FLORAL LOGISTICS OF MIAMI,

     INC’s (“Plaintiff”) 30(b)(6) Deposition Transcript as follows:

              Plaintiff has not submitted any excerpts from Defendant Dhan Paih, a/k/a

     Daniel Bae’s deposition transcript within 28 days.

              Defendants may read any parts of the following excerpts at the time of trial:

              Q.       T.8, Lines 11 and 12.


                                                          1
Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 2 of 7




           A.   T.8, Line 13.

           Q.   T.8, Lines 18 – 20.

           A.   T.8, Line 21.

           Q.   T.8, Line 22 (Exhibit “KL-1” Application For Credit).

           Q.   T.10, Lines 13 – 15.

           A.   T,10, Line 16.

           Q.   T.13, Lines 19 and 20.

           A.   T.13, Lines 21 – 24.

           Q.   T.13, Line 25.

           A.   T.14, Line 1.

           Q.   T.14, Lines 7 – 12.

           A.   T.14 Lines 13 – 15.

           Q.   T.15, Lines 13 – 15.

           A.   T.15, Line 15.

           Q.   T.15, Lines 17 – 19.

           A.   T.15, Lines 20 – T.16, Line 2.

           Q.   T.17, Lines 15 – 17.

           A.   T.17 Lines 18 – T.18, Line 11.

           Q.   T.18, Lines 20 and 21.

           A.   T.18, Line 24.

           Q.   T.19, Line 17.

           A.   T.19, Line 18.

                                           2
Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 3 of 7




           Q.   T.19, Lines 19 – 22.

           A.   T.19, Line 23.

           Q.   T.19, Lines 24 – T.20, Line 1.

           A.   T.20, Line 2.

           Q.   T.20, Lines 8 – 10.

           A.   T.20, Line 11.

           Q.   T.20, Lines 12 – 14.

           A.   T.20, Line 15.

           Q.   T.20, Line 17.

           A.   T.20, Lines 18 – 22.

           Q.   T.23, Lines 20 and 21.

           A.   T.23, Lines 22 – 24.

           Q.   T.24, Lines 1 – 3.

           A.   T.24, Line 4.

           Q.   T.24, Lines 6 – 8.

           A.   T.24, Line 9.

           Q.   T.24, Line 12.

           A.   T.24, Line 13.

           Q.   T.28, Lines 22 and 23.

           A.   T.28, Line 24.

           Q.   T.31, Lines 5 – 9.

           A.   T.31, Line 10.

                                           3
Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 4 of 7




           Q.   T.31, Line 11.

           A.   T.31, Line 12.

           Q.   T.31, Line 23.

           A.   T. 31, Lines 24 – T.32, Line 8.

           Q.   T.32, Lines 10,11, and 14.

           A.   T.32, Line 15.

           Q.   T.35, Lines 23 and 24.

           A.   T.35, Line 25.

           Q.   T.36, Lines 4 and 5.

           A.   T.36, Line 6.

           Q.   T.38, Lines 10 – 12.

           A.   T.38, Line 13.

           Q.   T.39, Lines 25 – T.40, Line 4.

           A.   T.40, Lines 5 – 7.

           Q.   T.40, Lines 8 – 10.

           A.   T.40, Line 11.

           Q.   T.48, Lines 17 – 20.

           A.   T48, Lines 22 and 23.

           Q.   T.49, Lines 23 and 24.

           A.   T.49, Line 25.

           Q.   T.50, Line 1.

           A.   T.50, Lines 2 – 5.

                                             4
Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 5 of 7




           Q.   T.50, Lines 6 and 7.

           A.   T.50, Lines 8 and 9.

           Q.   T.50, Lines 10 – 12.

           A.   T.50, Lines 13 and 14.

           Q.   T.60, Lines 15 – 17.

           A.   T.60, Lines 19 and 20.

           Q.   T.60, Line 22.

           A.   T.60, Line 23.

           Q.   T.62, Lines 24 – T.63, Line 7.

           A.   T.63, Lines 8 – 11.

           Q.   T.67, Lines 18 and 19.

           A.   T.67, Lines 20 and 21.

           Q.   T.71, Lines 5 – 8.

           A.   T,71, Lines 9 and 10.

           Q.   T.71, Line 11.

           A.   T.72, Lines 2 – 8; Lines 19 – 24.

           Q.   T.72, Lines 25 – T.73, Line 1.

           A.   T.73, Line 2.

           Q.   T.75, Line 25 – T.76, Line 1.

           A.   T.76, Line 2.

           Q.   T.76, Line 3.

           A.   T.76, Line 4.

                                           5
Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 6 of 7




           Q.    T.78, Lines 11 – 13.

           A.    T.78, Line 14.

           Q.    T.78, Line 15.

           A.    T.78, Line 16.

           Q.    T.78, Lines 20 – 22.

           A.    T.78, Line 23.

           Q.    T.78, Line 24.

           A.    T.78, Line 25.

           Q.    T.88, Lines 1 – 7.

           A.    T.88, Line 8.

           Q.    T.88, Lines 10 – 13.

           A.    T.88, Line 14.



     Dated: October 30, 2023                Respectfully submitted,

                                            LAW OFFICES OF DANIEL D. KIM
                                            PHVAttorney for Defendants
                                            /s/ Daniel Kim
                                            By: Daniel D. Kim
                                            danieldkimlaw@gmail.com
                                            (201) 741-1114 c.p.
                                            (646) 349-1732 fax

                                        JOSE A. BLANCO, P.A.
                                        102 E 49th ST,
                                        Hialeah, FL 33013
                                        305-349-3463
                                        jose@blancopa.com
                                        By:/s/ Jose A. Blanco, Esq. | FBN: 062449


                                        6
Case 1:23-cv-20073-CMA Document 72 Entered on FLSD Docket 10/30/2023 Page 7 of 7




                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was

     electronically filed with the Clerk of the Court using CM/ECF on October 30,

     2023. I also certify that the foregoing document is being served this day on

     counsel of record.

                                               By: /s/ Jose A. Blanco
                                               JOSE A. BLANCO, ESQ.




                                              7
